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 6

 7                                 UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA

 9
10    ELIZABETH CHAVEZ,                                CASE NO.
                                                       Civil Rights
11            Plaintiff,
                                                       COMPLAINT FOR PRELIMINARY AND
12            v.                                       PERMANENT INJUNCTIVE RELIEF AND
                                                       DAMAGES:
13    CLUB RODEO, INC.; VAKILIKI P.
      KOURETAS (TE); BESSIE VAKILIKI                   1. Violations of Americans with Disabilities
14    KOURETAS (TE),                                      Act of 1990 (42 U.S.C. § 12101 et seq.)

15                                                     2. Violation of the California Unruh Act (Cal.
              Defendants.                                 Civil Code §§ 51 and 52)
16
                                                       3. Violation of the California Disabled
17                                                        Persons Act (Cal. Civil Code § 54 et seq.)
18
                                                       DEMAND FOR BENCH TRIAL
19
20          Plaintiff ELIZABETH CHAVEZ complains of Defendants CLUB RODEO, INC.;

21   VAKILIKI P. KOURETAS (TE); BESSIE VAKILIKI KOURETAS (TE), and alleges as follows:

22          1.       INTRODUCTION: Defendants denied Plaintiff, a paraplegic wheelchair user, an

23   accessible restroom, an accessible path of travel to the seating area located in front of the stage

24   and an accessible bar at Club Rodeo Rio (the “Club”) located at 610 Coleman Ave, San Jose,

25   California. On October 24, 2024, Plaintiff and her husband visited the Club for an afterparty after

26   attending a concert in the San Jose area. The barriers of access at the Club left Plaitniff without a

27   way to safely use the restrooms in an accessible manner compared to non-disabled patrons,

28   among other indignities she suffered because of access barriers present at the Club. What should
                                                        1
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 1   have been a wonderful date night between parents, a rarity of time together without their young

 2   child in tow, became an embarrassing an unpleasant experience that cut their night short.

 3          2.      The discrimination caused Plaintiff difficulty, discomfort and embarrassment from

 4   the exclusion she felt due to the lack of accessible seating and the inability to use the restroom

 5   comfortably like everyone else. Plaintiff suffered the humiliating loss of her independence and

 6   her federal and state civil rights because the Defendants, owners and operators of these particular

 7   facilities, failed to provide the most basic access for disabled persons.

 8          3.      Plaintiff seeks to require Defendants to make these facilities accessible and to

 9   enact policies and procedures that ensure that the accessible features at the property are properly
10   maintained as accessible. In addition to requiring that Defendants’ facilities be made more

11   accessible to disabled persons, as required by federal and state laws, Plaintiff seeks compensation

12   for her personal damages, and recovery of statutory attorneys’ fees, litigation expenses and costs

13   incurred for bringing this action.

14          4.      Defendants denied disabled Plaintiff ELIZABETH CHAVEZ accessible public

15   facilities, including accessible seating, an accessible path of travel to accessible seating, a bar at

16   an accessible height for Plaintiff to use, and an accessible restroom. Plaintiff ELIZABETH

17   CHAVEZ is a “person with a disability” or “physically handicapped person” who requires the use

18   of a wheelchair for mobility. She is unable to use portions of public facilities which are not

19   accessible to mobility disabled persons. On or about October 24, 2024, Plaintiff was denied her
20   civil rights to full and equal access at the subject Club under both California law and federal law,

21   and continues to have her rights denied, because these facilities were not, and are not now,

22   properly accessible to physically disabled persons, including those who must use a wheelchair or

23   other assistive device for mobility due to the failure of Defendants who are owners and operators

24   of the facilities to comply with the law.

25          5.      JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

26   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

27   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

28   arising from the same facts are also brought under California law, including but not limited to
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 1   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,

 2   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building

 3   Code.

 4           6.      VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

 5   founded on the fact that the real property which is the subject of this action is located in this

 6   district and that Plaintiff’s causes of action arose in this district.

 7           7.      INTRADISTRICT: This case should be assigned to the San Jose intradistrict as

 8   the real property which is the subject of this action is located in this intradistrict and Plaintiff’s

 9   causes of action arose in this intradistrict.
10           8.      PARTIES: Plaintiff was the victim of a random act of gun violence in July of

11   2019. She is a qualified physically disabled person who cannot walk due to paraplegia, and who

12   requires use of a wheelchair for locomotion. She also owns a disabled licensed vehicle which

13   entitles her to park in a properly configured disabled accessible parking space. She has been

14   issued a California state placard for disabled parking.

15           9.      Defendants CLUB RODEO, INC.; VAKILIKI P. KOURETAS (TE); BESSIE

16   VAKILIKI KOURETAS (TE), are and were the owners, operators, lessors and/or lessees of the

17   subject business, property and buildings at all times relevant to this Complaint. Plaintiff is

18   informed and believes that each of the Defendants herein is the agent, employee or representative

19   of each of the other Defendants, and performed all acts and omissions stated herein within the
20   scope of such agency or employment or representative capacity and is responsible in some

21   manner for the acts and omissions of the other Defendants in proximately causing the damages

22   complained of herein.

23           10.     The Club is a place of “public accommodation” and “business establishment”

24   subject to the requirements of 42 USC section 12181(7)(B) of the Americans with Disabilities

25   Act of 1990; of California Health & Safety Code sections 19953 et seq.; of California Civil Code

26   sections 51 et seq.; and of California Civil Code sections 54 et seq. On information and belief,

27   Club Rodeo Rio and its facilities were built after July 1, 1970, and since then have undergone

28   construction and/or “alterations, structural repairs, or additions,” subjecting each such facility to
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 1   disabled access requirements per Health & Safety Code sections 19953-19959 et seq., and, as to

 2   construction and/or alterations since January 26, 1993, to the disabled access requirements of

 3   section 12183 of the Americans with Disabilities Act of 1990. Such facilities constructed or

 4   altered since 1982 are also subject to “Title 24,” the California State Architect’s Regulations, also

 5   known as the California Building Code. Further, irrespective of the alteration history, such

 6   premises are subject to the “readily achievable” barrier removal requirements of Title III of the

 7   Americans with Disabilities Act of 1990, as defined by the ADA. 42 USC § 12181(9). Further,

 8   Plaintiff’s claims relate to discriminatory policies and practices, as well as encountering

 9   architectural barriers, and improvement of those policies and practices is itself readily achievable.
10          11.     FACTUAL STATEMENT: On October 24, 2024, Plaintiff attended a concert

11   with her partner, Antonio, in the San Jose area. The band they went to see was Grupo Codiciado.

12   After the concert, the band made an announcement that there would be an afterparty at Club

13   Rodeo Rio and everyone in attendance at the concert was invited to meet the band at the Club.

14   Plaintiff and her partner were excited about the prospect of getting to meet the members of one of

15   their favorite bands, so after leaving the concert, the couple headed to Club Rodeo Rio.

16          12.     Plaintiff and her partner drove to Club Rodeo Rio, parked their car, and entered the

17   club. When they entered the club, Plaintiff and her partner spoke to one of Defendants’

18   employees to determine how they could reserve a table. Defendants’ employee informed Plaintiff

19   and her partner that there was a charge to reserve/sit at a table. Defendant’s employee explained
20   that the most inexpensive tables were located on an elevated platform in front of the stage behind

21   the dance floor. Plaintiff could see that the elevated platform was about 12 inches above the floor

22   level. She explained to Defendants’ employee that she would not be able to get up onto the

23   platform in her wheelchair. Plaintiff observed that the rest of the seating which was on same

24   level of the dance floor were in accessible to her because they were high-top tables which were

25   too high for her to use in her wheelchair, and it would be unsafe for her to attempt transfer to a

26   high stool or chair. Plaintiff asked Defendants’ employee if there was any accessible seating in

27   the Club. After some back and forth between Plaintiff and Defendants’ employees, Defendants

28   found and set up a table for Plaintiff and her partner which was not as nice as other seating for
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 1   non-disabled persons because of an inferior view, but was at least on an accessible path of travel

 2   and was at an accessible height. However, the place that the table was set up was segregated

 3   from the rest of the seating and did not have a view of the band on the stage. Plaintiff was

 4   disappointed with the table since the main reason she had come to the Club was to get near the

 5   band and get close up photos with them.

 6           13.     While Plaintiff and her partner were getting settled at their table, Plaintiff went to

 7   the bar to try to order drinks for herself and Antonio. Unfortunately, there was no lowered,

 8   accessible bar area for her to order the drinks from or transact business. She was unable to get the

 9   attention of the bartender from her lowered vantage point, so she went back to the table. Plaintiff
10   was later able to order drinks from a server who came to her table. However, Plaintiff was unable

11   to order drinks at the bar independently, and her ability to order was limited to when the server

12   came to their table to check on them, which was not often since they were in a separate area,

13   away from the other tables. The totality of her experience was not equal or as enjoyable as the

14   experience of non-disabled patrons in the Club because the architectural barriers present there,

15           14.     After Plaintiff and her partner had been at the Club for a short time, Plaintiff had

16   the need to use the restroom. She pushed herself in her wheelchair to the entrance to the women’s

17   restroom, but she discovered that the entrance door was too narrow for her to get inside

18   independently. Plaintiff had to ask one of the Club patrons nearby to push her chair into the

19   restroom. This was embarrassing because Plaintiff prides herself on her independence. Once
20   Plaintiff was inside the women’s restroom, it was clear that there were no accessible features

21   inside which would allow Plaintiff to use the restroom at the Club. Plaintiff saw two stalls inside

22   the restroom, but neither was large enough to fit her wheelchair inside. There were also no grab

23   bars around either toilet to assist her in transferring to the toilet. Further, the sink was a pedestal

24   style sink that would not allow her sufficient knee space to slide under in order to reach the

25   faucet. Other mounted accessories such as the soap dispenser, paper towel dispenser, coat hook,

26   and sanitary seat cover dispenser were also well out of her reach. Plaintiff attempted to use the

27   restroom, and she found that it was completely inaccessible to her.

28           15.     Almost as soon as she entered the women’s restroom, Plaintiff decided to leave
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 1   because it was clearly impossible for her to use. However, once she was inside the restroom it

 2   was difficult to get out due to the small footprint and the layout of the restroom. Once again,

 3   Plaintiff had to ask other Club patrons to assist her. Several ladies (who Plaintiff did not know)

 4   attempted to assist her in turning around inside the restroom so that she could exit, but she was

 5   still unable to turn around. Ultimately, one of the ladies pulled her out of the restroom backwards.

 6   While Plaintiff appreciates these good Samaritans, it should never have been this way.

 7          16.      Plaintiff returned to the table and told her partner that she had been unable to use

 8   the restroom. Plaintiff tried to stay at Club Rodeo Rio as long as she could because she really

 9   wanted to see more of the band Grupo Codiciado. However, Plaintiff had to leave the club early
10   in order to avoid experiencing a bodily functions accident inside the Club. Instead of using the

11   restroom inside the club, Plaintiff had to use a catheter in her vehicle to relieve herself before

12   driving home to avoid a bodily functions accident. This method of urinating is more dangerous to

13   Plaintiff because it is less sanitary than changing her catheter in a restroom with running hot

14   water nearby.

15          17.      The lack of accessible features at Club Rodeo Rio was very disappointing for

16   Plaintiff. She wishes to return to Club Rodeo Rio because she liked the vibe of the club, and the

17   Club attracts the type of music artists who Plaintiff enjoys listening to and seeing live. However,

18   Plaintiff cannot return to Club Rodeo Rio until the premises is made accessible to disabled

19   individuals such as herself.
20          18.      Defendants have failed to provide an accessible restroom at Club Rodeo Rio. To

21   the extent that Defendants could not make the facility or the restroom fully accessible because to

22   do so was not readily achievable, they failed to make the restroom as accessible as possible for

23   disabled persons. Plaintiff estimates the costs of moving partitions to create an accessible stall

24   and providing grab bars in the restroom would be less than $5,000. Further, she estimates by

25   moving or replacing the accessories, such as the sink, soap dispenser and paper towel dispenser so

26   that the operable parts are places at an accessible height would cost less than $3,000.

27   Additionally, providing an accessible path of travel and an accessible table on the elevated seating

28   area would likely cost less than $5,000, and providing an accessible lowered section for disabled
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 1   individuals place an order at the bar would likely cost less than $1,000. Each of these are easy to

 2   do and do not cost very much to accomplish, and the benefit to disabled persons and Plaintiff is

 3   the ability to use the facility safely and independently. More than 34 years after the ADA requires

 4   such barriers to be removed, they should have been by now.

 5          19.     The above referenced barriers to access are listed without prejudice to Plaintiff

 6   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

 7   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

 8   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

 9   2011). All of these barriers to access render the premises inaccessible to physically disabled
10   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter

11   when she returns to the premises. All facilities must be brought into compliance with all

12   applicable federal and state code requirements, according to proof.

13          20.     Further, each and every violation of the Americans with Disabilities Act of 1990

14   also constitutes a separate and distinct violation of California Civil Code section 54(c) and

15   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to

16   California law, including but not limited to Civil Code sections 54.3 and 55.

17                           FIRST CAUSE OF ACTION:
             VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18                              42 USC §§ 12101 et seq
19          21.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,
20   the allegations contained in Paragraphs 1 through 20 of this Complaint and incorporates them

21   herein as if separately re-pleaded.

22          22.     In 1990 the United States Congress made findings that laws were needed to more

23   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”

24   that “historically, society has tended to isolate and segregate individuals with disabilities;” that

25   “such forms of discrimination against individuals with disabilities continue to be a serious and

26   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities

27   are to assure equality of opportunity, full participation, independent living, and economic self-

28   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary
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 1   discrimination and prejudice denies people with disabilities the opportunity to compete on an

 2   equal basis and to pursue those opportunities for which our free society is justifiably famous...”

 3   42 U.S.C. §12101.

 4          23.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation

 5   Act and in the Americans with Disabilities Act of 1990.

 6          24.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),

 7   Congress stated as its purpose:

 8          It is the purpose of this Act
 9          (1) to provide a clear and comprehensive national mandate for the elimination of
            discrimination against individuals with disabilities;
10
            (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
11          against individuals with disabilities;
12          (3) to ensure that the Federal Government plays a central role in enforcing the standards
            established in this Act on behalf of individuals with disabilities; and
13
            (4) to invoke the sweep of congressional authority, including the power to enforce the
14          fourteenth amendment and to regulate commerce, in order to address the major areas of
            discrimination faced day-to-day by people with disabilities.
15

16   42 USC § 12101(b).
17          25.     As part of the ADA, Congress passed “Title III - Public Accommodations and

18   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

19   facility is one of the “private entities” which are considered “public accommodations” for
20   purposes of this title, which includes but is not limited to any “restaurant, bar, or other

21   establishment serving food or drink” (42 USC § 12181(7)(B)) and any “theater, concert hall, or

22   other place of exhibition or entertainment” (42 USC § 12181(7)(C)).

23          26.     The ADA states that “No individual shall be discriminated against on the basis of

24   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

25   or accommodations of any place of public accommodation by any person who owns, leases, or

26   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

27   prohibitions against discrimination include, but are not limited to the following:

28   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an
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 1   individual or class of individuals, on the basis of a disability or disabilities of such individual or

 2   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

 3   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

 4   that is not equal to that afforded to other individuals.”

 5   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

 6   procedures when such modifications are necessary to afford such goods, services, facilities,

 7   privileges, advantages, or accommodations to individuals with disabilities...;”

 8   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no

 9   individual with a disability is excluded, denied service, segregated, or otherwise treated
10   differently than other individuals because of the absence of auxiliary aids and services...;”

11   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

12   are structural in nature, in existing facilities... where such removal is readily achievable;”

13   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

14   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

15   advantages, or accommodations available through alternative methods if such methods are readily

16   achievable.”

17   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under

18   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

19          27.     The removal of each of the physical barriers complained of by Plaintiff as
20   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

21   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

22   of the architectural and/or policy barriers complained of herein were already required under

23   California law. Further, on information and belief, alterations, structural repairs or additions

24   since January 26, 1993, have also independently triggered requirements for removal of barriers to

25   access for disabled persons per section 12183 of the ADA. In the event that removal of any

26   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

27   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and

28   accommodations through alternative methods that were “readily achievable.”
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 1           28.       The ability to safely and independently use the restroom is fundamental to

 2   enjoying and using any establishment serving drinks and providing entertainment. Therefore, the

 3   benefits of creating these accessible features do not exceed the costs of readily achievable barrier

 4   removal. These costs are fundamental to doing business, like any other essential function of

 5   operating a Club, such as the costs of ensuring fire safety. It is thus readily achievable to remove

 6   these barriers.

 7           29.       On information and belief, as of the dates of Plaintiff’s encounters at the premises

 8   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have

 9   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled
10   persons in other respects, which violate Plaintiff’s right to full and equal access and which

11   discriminate against Plaintiff on the basis of her disabilities, thus wrongfully denying to Plaintiff

12   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and

13   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

14           30.       Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

15   deterring Plaintiff from patronizing Club Rodeo Rio and discriminated and continue to

16   discriminate against her on the basis of her disabilities, thus wrongfully denying Plaintiff the full

17   and equal enjoyment of Defendants’ goods, services, facilities, privileges, advantages and

18   accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182.

19           31.       Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,
20   Plaintiff ELIZABETH CHAVEZ is entitled to the remedies and procedures set forth in

21   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being

22   subjected to discrimination on the basis of her disabilities in violation of sections 12182 and

23   12183 of this title. On information and belief, Defendants have continued to violate the law and

24   deny the rights of Plaintiff and other disabled persons to “full and equal” access to this public

25   accommodation since on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)

26           [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
             shall include an order to alter facilities to make such facilities readily accessible to
27           and usable by individuals with disabilities to the extent required by this title. Where
             appropriate, injunctive relief shall also include requiring the provision of an
28           auxiliary aid or service, modification of a policy, or provision of alternative
                                                          10
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 1           methods, to the extent required by this title.

 2           32.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

 3   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

 4   implement the Americans with Disabilities Act of 1990. Plaintiff ELIZABETH CHAVEZ is a

 5   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to

 6   discrimination on the basis of disability in violation of Title III and who has reasonable grounds

 7   for believing she will be subjected to such discrimination each time that she may use the property

 8   and premises, or attempt to patronize Club Rodeo Rio, in light of Defendants’ policies and

 9   physical premises barriers.

10           WHEREFORE, Plaintiff requests relief as outlined below.

11                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
12      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                  INCORPORATED
13                          BY CIVIL CODE SECTION 51(f)

14           33.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the

15   factual allegations contained in Paragraphs 1 through 32 of this Complaint and incorporates them

16   herein as if separately re-pleaded.

17           34.     At all times relevant to this complaint, California Civil Code section 51 has

18   provided that physically disabled persons are free and equal citizens of the state, regardless of

19   medical condition or disability:

20           All persons within the jurisdiction of this state are free and equal, and no matter
             what their sex, race, color, religion, ancestry, national origin, disability, or medical
21           condition are entitled to the full and equal accommodations, advantages, facilities,
             privileges, or services in all business establishments of every kind whatsoever.
22

23   Civil Code § 51(b). [Emphasis added.]

24           35.     California Civil Code section 52 provides that the discrimination by Defendants

25   against Plaintiff on the basis of her disability constitutes a violation of the general anti-

26   discrimination provisions of sections 51 and 52.

27           36.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

28   distinct violation of California Civil Code section 52, which provides that:
                                                         11
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 1             Whoever denies, aids or incites a denial, or makes any discrimination or distinction
               contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
 2             actual damages, and any amount that may be determined by a jury, or a court sitting
               without a jury, up to a maximum of three times the amount of actual damage but in
 3             no case less than four thousand dollars ($4,000), and any attorney’s fees that may
               be determined by the court in addition thereto, suffered by any person denied the
 4             rights provided in Section 51, 51.5, or 51.6.

 5             37.    Any violation of the Americans with Disabilities Act of 1990 also constitutes a

 6   violation of California Civil Code section 51(f), thus independently justifying an award of

 7   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per

 8   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

 9   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

10             38.    The actions and omissions of Defendants as herein alleged constitute a denial of

11   access to and use of the described public facilities by physically disabled persons within the

12   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

13   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

14   sections 51 and 52, and are responsible for statutory, compensatory and treble damages to

15   Plaintiff, according to proof.

16             39.    FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

17   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

18   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

19   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

20   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

21   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

22   intended to require that Defendants make its facilities and policies accessible to all disabled

23   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

24   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

25   applicable law.

26                    WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter

27   stated.

28   //
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 1                               THIRD CAUSE OF ACTION:
                           DAMAGES AND INJUNCTIVE RELIEF
 2       FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
                                PUBLIC ACCOMMODATION
 3          (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)

 4           40.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

 5   the factual allegations contained in Paragraphs 1 through 39, above, and incorporates them herein

 6   by reference as if separately repled hereafter.

 7           41.     Plaintiff ELIZABETH CHAVEZ and other similarly situated physically disabled

 8   persons, including those who require the use of an assistive device for mobility, are unable to use

 9   public facilities on a “full and equal” basis unless each such facility is in compliance with the

10   provisions of California Health & Safety Code sections 19955 -19959. Plaintiff is a member of

11   that portion of the public whose rights are protected by the provisions of Health & Safety Code

12   sections 19955 et seq. Further, Plaintiff is also protected against policy and architectural barrier

13   discrimination by California Civil Code sections 54 and 54.1, the “Disabled Persons Act.”

14   “Individuals with disabilities or medical conditions have the same right as the general public to

15   the full and free use of the streets, highways, sidewalks, walkways, public buildings, medical

16   facilities, including hospitals, clinics, and physicians’ offices, public facilities, and other public

17   places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be entitled to full

18   and equal access, as other members of the general public, to accommodations, advantages,

19   facilities . . . places of public accommodation, amusement, or resort, and other places to which the

20   general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the ADA,

21   including but not limited to any violation of 42 USC sections 12182 and 12183, is also

22   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

23           42.     Title 24, California Code of Regulations, formerly known as the California

24   Administrative Code and now also known as the California Building Code, was in effect at the

25   time of each alteration which, on information and belief, occurred at such public facility since

26   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

27   each such “alteration, structural repair or addition” was carried out. On information and belief,

28   Defendants and/or their predecessors in interest carried out new construction and/or alterations,
                                                         13
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 1   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

 2   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

 3   structural repairs, and/or additions which triggered access requirements at all relevant portions

 4   Club Rodeo Rio, also occurred between July 1, 1970, and December 31, 1981, and required

 5   access pursuant to the A.S.A. (American Standards Association) Regulations then in effect,

 6   pursuant to the incorporated provisions of California Government Code sections 4450 et seq.

 7   Further, on information and belief, additions to the building after the initial construction also

 8   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section

 9   19959. Alterations or additions after January 26, 1993 trigger ADA liability and requirements per
10   42 USC sections 12182 and 12183 of the ADA.

11             43.   INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

12   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

13   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

14   physically disabled from full and equal access to these public facilities. Such acts and omissions

15   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

16   continue to treat Plaintiff as an inferior, and second-class citizen. They serve to discriminate

17   against her on the sole basis that she is a person with disabilities who requires the use of a

18   wheelchair or other assistive device for movement in public places, including the addition of a

19   fully compliant accessible restroom at Club Rodeo Rio.
20             44.   Plaintiff is deterred from returning to use these facilities, because the lack of

21   access will foreseeably cause her further difficulty, discomfort and embarrassment, and Plaintiff

22   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

23   and use of these public facilities. Therefore, Plaintiff cannot return to patronize Club Rodeo Rio

24   and its facilities, and is deterred from further patronage until these facilities are made properly

25   accessible for disabled persons. Plaintiff intends to return subject premises to hear music and see

26   bands she likes at Club Rodeo Rio. She will return to the subject premises if it is made accessible

27   to her.

28             45.   The acts of Defendants have proximately caused and will continue to cause
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 1   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to

 2   all inaccessible areas of the premises that she has personally encountered, and, as to all areas

 3   identified during this litigation by Plaintiff’s access consultant, that she or other physically

 4   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

 5   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

 6   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to the Defendants, Plaintiff seeks preliminary and

 7   permanent injunctive relief to enjoin and eliminate the discriminatory practices and barriers that

 8   deny full and equal access for disabled persons, and for reasonable statutory attorney fees,

 9   litigation expenses and costs.
10           46.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

11   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

12   complained of and to require Defendants to comply forthwith with the applicable statutory

13   requirements relating to access for disabled persons. Such injunctive relief is provided by

14   California Health & Safety Code section 19953 and California Civil Code section 55, and other

15   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

16   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

17   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

18   law, all as hereinafter prayed for.

19           47.     DAMAGES: As a result of the denial of full and equal access to the described
20   facilities and due to the acts and omissions of Defendants in owning, operating, leasing,

21   constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a violation of

22   her civil rights, including but not limited to rights under Civil Code sections 54 and 54.1, and has

23   suffered difficulty, discomfort and embarrassment, and physical, mental and emotional personal

24   injuries, all to her damages per Civil Code section 54.3, including general and statutory damages,

25   as hereinafter stated. Defendants’ actions and omissions to act constitute discrimination against

26   Plaintiff on the basis that she was and is physically disabled and unable, because of the

27   architectural and other barriers created and/or maintained by the Defendants in violation of the

28   subject laws, to use the public facilities on a full and equal basis as other persons. These
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 1   violations have deterred Plaintiff from returning to attempt to patronize the Club Rodeo Rio and

 2   will continue to cause her damages each day these barriers to access continue to be present.

 3          48.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,

 4   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

 5   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

 6   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

 7   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the

 8   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

 9   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make their
10   facilities accessible to all disabled members of the public, justifying “public interest” attorney

11   fees, litigation expenses and costs pursuant to the provisions of California Code of Civil

12   Procedure section 1021.5 and other applicable law.

13          WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.

14                                                 PRAYER

15          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this

16   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the

17   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

18   Plaintiff is granted the relief she requests. Plaintiff and Defendants have an actual controversy

19   and opposing legal positions as to Defendants’ violations of the laws of the United States and the
20   State of California. The need for relief is critical because the rights at issue are paramount under

21   the laws of the United States and the State of California.

22          WHEREFORE, Plaintiff ELIZABETH CHAVEZ prays for judgment and the following

23   specific relief against Defendant:

24          1.      Issue a preliminary and permanent injunction directing Defendants as current

25   owners, operators, lessors, and/or lessee of the subject property and premises to modify the above

26   described property, premises, policies and related facilities to provide full and equal access to all

27   persons, including persons with physical disabilities; and issue a preliminary and permanent

28   injunction pursuant to ADA section 12188(a) and state law directing Defendants to provide
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 1   facilities usable by Plaintiff and similarly situated persons with disabilities, and which provide

 2   full and equal access, as required by law, and to maintain such accessible facilities once they are

 3   provided; to cease any discriminatory policies, and to train Defendants’ employees and agents in

 4   how to recognize disabled persons and accommodate their rights and needs;

 5            2.     Retain jurisdiction over the Defendants until such time as the Court is satisfied that

 6   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

 7   inaccessible public facilities and policies as complained of herein no longer occur, and cannot

 8   recur;

 9            3.     Award to Plaintiff all appropriate damages, including but not limited to statutory
10   damages, and general damages in amounts within the jurisdiction of the Court, all according to

11   proof;

12            4.     Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and

13   costs of this proceeding as provided by law;

14            5.     Award prejudgment interest pursuant to Civil Code section 3291; and

15            6.     Grant such other and further relief as this Court may deem just and proper.

16   Date: January 28, 2025                                  CLEFTON DISABILITY LAW
17                                                              /s/ Aaron Clefton
                                                             By AARON CLEFTON, Esq.
18                                                           Attorney for Plaintiff
                                                             ELIZABETH CHAVEZ
19
20                                       BENCH TRIAL DEMAND
21            Plaintiff hereby demands a Bench for all claims for which a jury is otherwise permitted,
22   and waives her right to a jury.
23   Date: January 28, 2025                                  CLEFTON DISABILITY LAW
24
                                                                /s/ Aaron Clefton
25                                                           By AARON CLEFTON, Esq.
                                                             Attorney for Plaintiff
26                                                           ELIZABETH CHAVEZ
27

28
                                                        17
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